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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Civil Action No. 12-cv-02842-LTB

RICHARD SUGGS, and
CARIN SUGGS, individually and as next best friend,

        Plaintiffs,

v.

JONATHAN PAUL ADAMS,
KEITH MCKIM,
ERICK LOPEZ,
ANDREW GILL,
JOHN DOE (Name currently unknown),
CITY OF PUEBLO[,] COLORADO POLICE DEPARTMENT,
STATE OF COLORADO,
PUEBLO[,] COLORADO OFFICE OF DISTRICT ATTORNEY,
PUEBLO CHIEFTAIN NEWSPAPER, and
RIVERSIDE BAR AND GRILL,

        Defendants.


                                      JUDGMENT


        Pursuant to and in accordance with the Order of Dismissal entered by Lewis T.

Babcock, Senior District Judge, on February 11, 2013, it is hereby

        ORDERED that Judgment is entered in favor of Defendants and against

Plaintiffs.

        DATED at Denver, Colorado, this 11 day of February, 2013.

                                         FOR THE COURT,

                                         JEFFREY P. COLWELL, Clerk



                                         By: s/ S. Grimm
                                             Deputy Clerk
